Case 2:20-cv-09134-JFW-JEM Document 14 Filed 12/21/20 Page 1 of 1 Page ID #:54




  1    CENTER FOR DISABILITY ACCESS
       Ray Ballister Jr., Esq., SBN 111282
  2    Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
  3    Amanda Seabock, Esq., SBN 289900
  4    8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
  5    (858) 375-7385; (888) 422-5191 fax
       AmandaS@potterhandy.com
  6    Attorneys for Plaintiff
  7                        UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA

  9    ORLANDO GARCIA,                                  Case: 2:20-cv-09134-JFW-JEM
 10           Plaintiff,
         v.                                             Plaintiff’s Notice of Voluntary
 11    HOOSHANG RADNIA, in individual                   Dismissal With Prejudice
       and representative capacity as
 12    Trustee of The Hooshang Radnia                   Fed. R. Civ. P. 41(a)(1)(A)(i)
       Family Trust dated March 11, 1991;
 13    EDNA RADNIA, in individual and
       representative capacity as Trustee of
       The Hooshang Radnia Family Trust
 14    dated March 11, 1991; UNITED R T
       M INCORPORATED, a California
 15    Corporation; YAZID
       CORPORATION, a California
 16    Corporation; and Does 1-10,
              Defendants.
 17
 18          PLEASE TAKE NOTICE that Plaintiff Orlando Garcia, hereby
 19    voluntarily dismisses the above captioned action with prejudice pursuant to
 20    Federal Rule of Civil Procedure 41(a)(1)(A)(i).
 21          Defendant HOOSHANG RADNIA; EDNA RADNIA; UNITED R T M
 22    INCORPORATED and YAZID CORPORATION has neither answered
 23    Plaintiff’s Complaint, nor filed a motion for summary judgment. Accordingly,
 24    this matter may be dismissed without an Order of the Court.
 25    Dated: December 21, 2020             CENTER FOR DISABILITY ACCESS
 26
 27                                         By: /s/ Amanda Seabock
                                            Amanda Seabock
 28
                                            Attorney for Plaintiff

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                   Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                Federal Rule of Civil Procedure 41(a)(1)(A)(i)
